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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION
MARK ANTHONY ORTEGA,
Plaintiff,
SA-24-CV-768-JKP

Vv.

ELITE LIVING REALTY, LLC,

COR COR COD 6G0 GN 4On 407 6 LOD

Defendant.

ORDER RETURNING CASE
TO DISTRICT COURT

In light of the Clerk’s Entry of Default Against Defendant and Plaintiffs Motion for
Default Judgment filed on September 16, 2024, it is hereby ORDERED that the above-entitled
and numbered cause is RETURNED to the District Court for all purposes. (See Docket Entries
10 and 11.)

SIGNED on September 18, 2024. .
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Henry q/ Bemporad

nited States Magistrate Judge

